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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     USA,                                             Case No. 19-cr-00305-RS-1
                                                           Plaintiff,
                                   8
                                                                                          ORDER FOR RELEASE FROM
                                                      v.                                  UNITED STATES MARSHAL
                                   9
                                                                                          CUSTODY
                                  10     EDUAR RAMOS,
                                                           Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The defendant is ordered released from the custody of the United States Marshal based on

                                  14   a sentence of time served.

                                  15           IT IS SO ORDERED.

                                  16   Dated: 5/10/2021

                                  17                                                  ______________________________________
                                                                                      RICHARD SEEBORG
                                  18                                                  Chief United States District Judge
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